948 F.2d 1337
    292 U.S.App.D.C. 229
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Harcharan SINGH, Appellant,v.LIBRARY OF CONGRESS.
    No. 91-5022.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 5, 1991.
    
      Before HARRY T. EDWARDS, SILBERMAN and STEPHEN F. WILLIAMS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion for summary affirmance and the opposition thereto, it is
    
    
      2
      ORDERED that the motion for summary affirmance be granted for the reasons stated by the district court in its memorandum and order filed December 24, 1990.   The merits of the parties' positions are so clear as to warrant summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam );   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam ), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    